Case 0:17-cv-60426-UU Document 83-12 Entered on FLSD Docket 11/01/2017 Page 1 of 6




                                Exhibit
                                  12
Case 0:17-cv-60426-UU Document 83-12 Entered on FLSD Docket 11/01/2017 Page 2 of 6
Case 0:17-cv-60426-UU Document 83-12 Entered on FLSD Docket 11/01/2017 Page 3 of 6
Case 0:17-cv-60426-UU Document 83-12 Entered on FLSD Docket 11/01/2017 Page 4 of 6
Case 0:17-cv-60426-UU Document 83-12 Entered on FLSD Docket 11/01/2017 Page 5 of 6
Case 0:17-cv-60426-UU Document 83-12 Entered on FLSD Docket 11/01/2017 Page 6 of 6
